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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA

VS.                                                     CRIMINAL NO. 1:04cr97-LG-JMR-001

DAMIAN BRONTE JORDAN

                       ORDER GRANTING MOTION FOR SENTENCE
                         REDUCTION UNDER 18 U.S.C. § 3582(c)(2)

      This cause is before the Court on the motion of the defendant, Damian Bronte Jordan [129],

for a retroactive application of sentencing guidelines pursuant to 18 U.S.C. § 3582(c)(2) based

upon recent amendments to the sentencing guidelines applicable to offenses involving cocaine

base, and the subsequent decision by the United States Sentencing Commission [Sentencing

Commission] to make this amendment retroactive, pursuant to United States Sentencing

Guideline [USSG] § 1B1.10 effective March 3, 2008.

      Jordan entered a plea of guilty to counts 1 and 3 of the indictment on January 1, 2006. (Ct.

R.) Jordan was sentenced on April 7, 2006, to term of 135 months imprisonment, followed by 4

years of supervised release; and the mandatory special assessment of $100.00. (Ct. R., Doc. 74.)

Jordan was held accountable for at least 1.5 kilograms of cocaine base and over 50 kilograms of

cocaine hydrochloride, which converted to the marijuana equivalent of 40,000 kilograms of

marijuana, according to the United States Probation Office. The base offense level of 38 was

reduced to level 33 because Jordan received a two-level safety valve reduction and a three-level

reduction for acceptance of responsibility. The resulting total offense level resulted in a

guideline range of 135-168 months.
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    According to information provided by the United States Probation Office, under the

amended Sentencing Guidelines, the reduced total offense level would become 31, based on the

guideline amendment and with the applicable deductions applied to the amendment provisions.

The revised guideline imprisonment range would become 108-135 months.

    The Court finds that the applicable sentence in this case should be 108 months, based on the

prevision sentence and pursuant to the Court’s authority under 18 U.S.C. § 3582(c)(2) and FED .

R. CRIM . P. 43(b)(4).

    IT IS THEREFORE ORDERED that the motion for change in sentence [129] pursuant to

18 U.S.C. § 3582(c)(2) be and is hereby granted. It is further,

    ORDERED that the Defendant Damian Bronte Jordan’s sentence be, and is hereby, reduced

from 135 months to 108 months at to count 1 of the indictment. It is further,

    ORDERED that all other terms and provisions of the original judgment remain unchanged

and in full force and effect.

            SO ORDERED AND ADJUDGED this the 22nd day of August, 2008.




                                                          s/   Louis Guirola, Jr.
                                                          LOUIS GUIROLA, JR.
                                                          UNITED STATES DISTRICT JUDGE




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